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|N THE UNITED STATES D|STR|CT COURT 111_-5 1311 \/;fo.c
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DIV|S|ON @511111( 31 P}»l 3: 15
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UNlTED STATES OF A|VIER|CA W_ n GI'_ md e`_.$:_;MPWS

Plaintiff

VS.
CR. NO. 04-20170-D

|V||CHAEL RAY PINKERTON, JR.

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Julv 21. 2005. at 9:00 a.m., in Courtroom 3. 9th Floor of the
Federa| Bui|ding, Nlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

n is so oRoEREo this jj day of May, 2005.

    

B N|CE B. D NALD
UN|TED STATES D|STR|CT JUDGE

 

   

UNITED sTATE DISTRIC COUR - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20170 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

